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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                     *       CRIMINAL DOCKET

VERSUS                                                       *       NO. 07-169

BARRY S. SCHEUR, ET AL.                                      *       SECTION “L” (2)


                                     ORDER & REASONS

       Before the Court are the following pretrial motions in this criminal matter: Robert

McMillan’s Motion for Bill of Particulars (Rec. Doc. 67); Barry Scheur’s Motion for Review of

Magistrate Judge’s Denials of Motions for Bill of Particulars in No. 05-304 And In This Case

(Rec. Doc. 73); and Barry Scheur’s Motion to Strike Surplusage From Indictment (Rec. Doc.

75). The Court heard oral argument and took these motions under submission. For the

following reasons, the Defendants’ motions will now be GRANTED IN PART and DENIED IN

PART as specified below.

I.     BACKGROUND

       The Court has discussed the facts and procedural history of this case on several

occasions. See United States v. Scheur, 2007 WL 2726083 (E.D. La. Sept. 17, 2007); United

States v. Scheur, 2007 WL 1063301 (E.D. La. Apr. 3, 2007); United States v. Scheur, 2007 WL

29065 (E.D. La. Jan. 3, 2007). Accordingly, rather than repeat itself here, the Court will assume

familiarity with its prior decisions and proceed to the substance of the instant motions.




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II.     PRESENT MOTIONS

        In the instant pretrial motions, the Defendants seek two forms of relief.

        First, the Defendants ask the Court to direct the government to file a bill of particulars

pursuant to Rule 7(f) of the Federal Rules of Criminal Procedure. The Defendants seek various

particulars, including the following: (1) the identities of unindicted co-conspirators and the time

period within which each such person is alleged to have been a member of the conspiracy; (2)

the specific beginning and end dates of the alleged conspiracy and the time period within which

each Defendant is alleged to have been a member of the conspiracy; (3) an identification of the

specific false or misleading statements within the various financial records, of any fraudulent

cash payments to The Oath from its parent companies, and of any non-existent or artificially

inflated accounts receivable; (4) the identities of the individual insureds and medical service

providers that were allegedly defrauded and the specific time and place each was allegedly

defrauded; and (5) an identification by owner and location of any property subject to forfeiture.1

        Second, the Defendants ask the Court to strike surplus language from the indictment

pursuant to Rule 7(d) of the Federal Rules of Criminal Procedure. Specifically, the Defendants

ask the Court to strike the following language from paragraphs six through nine of the

indictment: (1) “The Oath paid SMG approximately $200,000 to $350,000 per month for

management services, typically by wire transfer from an Oath bank account in New Orleans,



        1
          As noted above, both McMillan and Schuer have filed motions requesting particulars.
While their requests are not identical, they seek essentially the same information from the
government. Moreover, although McMillan’s request is more specific in certain respects than
Scheur’s, the summary provided above will suffice in light of the Court’s conclusions with
respect to the requested particulars. Indeed, to the extent that a specific request is not mentioned
below, that request should be considered denied.

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Louisiana to an SMG bank account in Massachusetts”; (2) “The previous owners of The Oath

provided capital contributions sufficient to ensure that The Oath had a net worth above the

required statutory minimum of $3 million at the time of transfer”; (3) “The Oath’s liabilities

exceeded its assets by approximately $45 million”; and (4) “From January 2000 until the LDOI

placed The Oath in receivership in April 2002, The Oath paid SMG, defendant Scheur’s

company, approximately $6.1 million in management fees.”

III.     LAW & ANALYSIS

         A.     Motion for Bill of Particulars

         Rule 7(f) of the Federal Rules of Criminal Procedure provides that the Court may “direct

the government to file a bill of particulars.” Fed. R. Crim. P. 7(f). “The purpose of a bill of

particulars is to enable a defendant to prepare for trial, to reduce prejudicial surprise, and to

provide a defendant with protection against a subsequent prosecution for the same offense.”

United States v. Espy, No. 96-198, 1996 WL 637759, at *1 (E.D. La. Nov. 4, 1996).

         Of the various particulars summarized above, the Court finds that only the Defendants’

request for the identities of unindicted co-conspirators and the time period within which each

such person is alleged to have been a member of the conspiracy is well-founded. See, e.g., Espy,

1996 WL 637759, at *1 (“Courts have generally found that the government should disclose the

identity of all uncharged coconspirators.”). Accordingly, the Court orders the government to

disclose this information in a letter submitted under seal.

         With respect to the Defendants’ request for an identification by owner and location of

any property subject to forfeiture, the Court finds that the indictment is sufficient. See Fed. R.

Crim. P. 32.2 Advisory Committee Notes (2000) (“Rule 7(c) sets forth a requirement that the


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government give the defendant notice that it will be seeking forfeiture in accordance with the

applicable statute. It does not require a substantive allegation in which the property subject to

forfeiture, or the defendant’s interest in the property, must be described in detail.”).

Accordingly, this request is denied.

       With respect to the Defendants’ remaining requests, the Court finds that the indictment is

sufficiently detailed. Indeed, the bulk of these remaining requests involve alleged statements,

actions, or information that either originated from the Defendants themselves or of which the

Defendants were intimately aware.2 This includes the identities of the third parties that were

allegedly defrauded––entities with which the Defendants did business. Moreover, the

government has already provided extensive discovery concerning all of these particulars. Thus,

the Court finds that the Defendants will not be prejudicially surprised at trial by the

government’s proof on these matters. See, e.g., United States v. Cole, 755 F.2d 748, 760-61

(11th Cir. 1985). “While a bill of particulars has for its purpose informing a defendant of the

nature of the charges against him . . . it may not be used to obtain a detailed disclosure of the

government’s evidence prior to trial.” United States v. Perez, 489 F.2d 51, 70-71 (5th Cir.

1973). Accordingly, the Defendants’ remaining requests for particulars are denied.3




       2
          The Defendants’ request concerning the specific time frame of the conspiracy is also
denied, in part because of the Court’s conclusion below with respect to certain surplus language
in the indictment.
       3
         In this regard, the Court agrees with some of the conclusions and reasoning of
Magistrate Judge Moore, who previously considered similar requests in this case on November
8, 2006. See Rec. Doc. 134 in Criminal Action No. 05-304.


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       B.      Motion to Strike Surplusage

       Rule 7(c) of the Federal Rules of Criminal Procedure requires that an indictment be a

“plain, concise, and definite written statement of the essential facts constituting the offense

charged.” Fed. R. Crim. P. 7(c)(1). Rule 7(d) provides that “[u]pon the defendant’s motion, the

court may strike surplusage from the indictment.” Fed. R. Crim. P. 7(d). As the United States

Court of Appeals for the Fifth Circuit has noted, “irrelevant or immaterial facts, particularly

those that might prejudice the jury,” may be struck from an indictment. United States v. Hughes,

766 F.2d 875, 879 (5th Cir. 1985). “The inclusion of clearly unnecessary language in an

indictment that could serve only to inflame the jury, confuse the issues, and blur the elements

necessary for conviction under the separate counts involved surely can be prejudicial.” United

States v. Bullock, 451 F.2d 884, 888 (5th Cir. 1971).

       With respect to the challenged language summarized above, the Court finds that only that

portion contained in paragraph seven of the indictment is so irrelevant or immaterial such that it

should be struck. Accordingly, the following language is hereby struck from paragraph seven of

the indictment: “The previous owners of The Oath provided capital contributions sufficient to

ensure that The Oath had a net worth above the required statutory minimum of $3 million at the

time of transfer. However, some months later.”4

       In addition, the Court will strike the phrases “at least as early as” and “at least” from the

first sentences of paragraphs fifteen and nineteen of the indictment. These two phrases are

unnecessary in light of the “in or about” language also included in paragraphs fifteen and



       4
           Although the last four words were not challenged, they are no longer necessary given
that the first sentence of paragraph seven is being struck.

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nineteen regarding the beginning and end dates of the alleged offenses.

IV.     CONCLUSION

        Accordingly, for the foregoing reasons, IT IS ORDERED that Robert McMillan’s Motion

for Bill of Particulars (Rec. Doc. 67), Barry Scheur’s Motion for Review of Magistrate Judge’s

Denials of Motions for Bill of Particulars in No. 05-304 And In This Case (Rec. Doc. 73), and

Barry Scheur’s Motion to Strike Surplusage From Indictment (Rec. Doc. 75) are GRANTED IN

PART and DENIED IN PART as specified above.



        New Orleans, Louisiana, this 20th day of February, 2008.




                                                      UNITED STATES DISTRICT JUDGE




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